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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

Dr. George Richardson,                     §
Rosalie Weisfeld, Austin                   §
Justice Coalition, Coalition               §
of Texans with Disabilities,               §
Move Texas Civic Fund,                     §
League of Women Voters                     §
Of Texas and American GI                   §
Forum of Texas, Inc.                       §
                    Plaintiffs,            §
                                           §
v.                                         §       Civil Action No.: 5:19-CV-00963
                                           §
Texas Secretary of State                   §
Trudy Hancock, in her official             §
Capacity as Brazos County                  §
Elections Administrator and                §
Perla Lara in her official                 §
Capacity as City of McAllen,               §
Texas Secretary,                           §
                   Defendants              §

          DEFENDANT BRAZOS COUNTY ELECTIONS ADMINISTRATOR
           TRUDY HANCOCK’S MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE JUDGE OF THIS COURT:

       Defendant Brazos County Elections Administrator Trudy Hancock (hereinafter

“Hancock”) files this Motion for Summary Judgment. In support hereof, Defendant Hancock relies

on the following:

                                  I.    Statement of the Case

       Plaintiffs, Dr. George Richardson (“Richardson”), Rosalie Weisfeld (“Weisfeld”), Austin

Justice Coalition (“Austin Justice”), Coalition of Texans with Disabilities (“CTD”), MOVE Texas

Civic Fund (“MOVE”), League of Women Voters of Texas (the “League”), and American GI




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Forum of Texas, Inc. 1, filed their Original Complaint on August 7, 2019 (hereinafter “Complaint”).

Docket Entry No. 1. Plaintiffs filed this lawsuit against: (1) the Texas Secretary of State; (2) Trudy

Hancock, in her official capacity as the Brazos County Elections Administrator; and (3) Perla Lara,

in her official capacity as City of McAllen, Texas Secretary. Id.

        Plaintiffs seek declaratory and injunctive relief pursuant to 42 U.S.C. §1983 and the United

States Constitution. Id. “Plaintiff Coalition with Texans with Disabilities additionally seeks

declaratory and injunctive relief pursuant to Title II of the Americans with Disabilities Act and the

Rehabilitation Act of 1973.” Id. Specifically, Plaintiffs request a declaratory judgment “that the

State of Texas’ statutory scheme requiring the rejections of mail-in ballots with alleged signature

mismatches, specifically set out in Texas Election Code §§87.041(b)(2), (e), and (f), is

unconstitutional and violates the ADA and the RA.” Id. at pg. 24. Further, Plaintiffs request that

the Court enjoin the Defendants and the other 254 county agencies administering elections in

Texas from: (1) “rejecting any mail-in ballot for signature mismatch reasons”; or, in the alternative,

require that they: (1) “provide voters meaningful rejection of a mail-in ballot based on an alleged

signature mismatch; and (2) offer voters the ability to cure a mail-in ballot questioned for an

alleged signature mismatch.” Id.

                                   II.     ISSUES FOR CONSIDERATION

        1. Whether any Plaintiff established standing under Article III of the Constitution to sue
           Defendant Hancock.
        2. Whether Defendant Hancock, as the Brazos County Elections Administrator, has the
           statutory duty under the Texas Election Code to process early voting results, including
           accepting or rejecting ballots based on the voter’s signature.
               a. Whether any Plaintiff demonstrated that Defendant Hancock violated the Due
                   Process Clause of the Fourteenth Amendment for failure to provide a pre-
                   rejection notice and opportunity to cure.
               b. Whether any Plaintiff established that Defendant Hancock violated the Equal
                   Protection Clause of the Fourteenth Amendment.

1
 American GI Forum of Texas, Inc. was dismissed from this lawsuit by a Joint Stipulation of Dismissal on May 19,
2020. Docket Entry No. 61.


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               c. Whether any Plaintiff proved that Defendant Hancock violated the Equal
                  Protection Clause of the Fourteenth Amendment by failing to provide uniform
                  guidelines or principles for Counties to compare signatures.
               d. Whether any Plaintiff established that Defendant Hancock violated Title II of
                  the Americans with Disabilities Act and the Rehabilitation Act of 1973.

                                       III.    ARGUMENT

  A. Summary Judgement Standard

       Pursuant to Fed. R. Civ. P. 56(c), summary judgment should be granted where there is no

genuine issue as to any material fact and the moving party is entitled to judgment as a matter of

law. Speaks v. Trikora Lloyd P.T., 838 F.2d 1436, 1438-39 (5th Cir. 1988). Fed. R. Civ. P. 56(e)

provides, in part:

       When a motion for summary judgment is properly made and supported, an opposing party
       may not rely merely on allegations or denials in its own pleading; rather, its response must
       – by affidavits or as otherwise provided in this rule – set out specific facts showing a
       genuine issue for trial. If the opposing party does not so respond, summary judgment
       should, if appropriate, be entered against that party. Fed. R. Civ. P. 56(e)(2).

       Summary judgment is precluded under Fed. R. Civ. P. 56(c) when the dispute is genuine

and the disputed facts might affect the outcome of the suit. Id.; Speaks, 838 F.2d at 1438-39. To

satisfy this burden, the movant must either submit evidentiary documents that negate the existence

of some material element of the nonmoving party’s claim or defense or, if the crucial issue is one

for which the nonmoving party will bear the burden of proof at trial, merely point out that the

evidentiary documents in the record contain insufficient proof concerning an essential element of

the nonmoving party’s claim or defense. See Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986).

A summary judgment movant who will not bear the burden of proof at trial may meet its initial

burden of establishing that there is no genuine issue of material fact merely by pointing out the

absence of evidence supporting the nonmoving party’s case. See Stults v. Conoco, Inc., 76 F.3d

651, 656 (5th Cir. 1996); Transamerica Ins. Co. v. Avenell, 66 F.3d 715, 718-719 (5th Cir. 1995).




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        Once the moving party has carried that burden, the burden shifts to the nonmoving party

to show that summary judgment is not appropriate. See Exxon Corp. v. Baton Rouge Oil & Chem.

Workers Union, 77 F.3d 850, 853 (5th Cir. 1996); Stults, 76 F.3d at 656. The party opposing

summary judgment cannot establish a genuine issue of material fact by resting on the allegations

made in his pleadings without setting forth specific facts establishing a genuine issue worthy of

trial. Topalian v. Ehrman, 954 F.2d 1125, 1131 (5th Cir. 1992), cert. denied 506 U.S. 825 (1992).

“Mere conclusory allegations are not competent summary judgment evidence, and they are

therefore insufficient to defeat or support a motion for summary judgment.” Id.

   B. Standing

       The Doctrine of Standing establishes that at a constitutional minimum, standing contains

three elements. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). “To establish standing

under Article III of the Constitution, a plaintiff must demonstrate (1) that he or she suffered an

injury in fact that is concrete, particularized, and actual or imminent, (2) that the injury was caused

by the defendant, and (3) that the injury would likely be redressed by the requested judicial relief.”

Texas Democratic Party v. Abbott, No. 20-50407, 2020 WL 2982937, at *5 (5th Cir. June 4,

2020)(quoting Thole v. U.S. Bank N.A., 140 S.Ct. 1615, 1618 (U.S. June 1, 2020)). In this matter,

Plaintiffs   consist     of    two     individuals,     Richardson      and     Weisfeld,     and     four

associations/organizations, Austin Justice, CTD, MOVE and the League.

       In order to have standing for an association or organization, the association or organization

must meet all of the well-known requirements of Lujan:

       First, the plaintiff must have suffered an “injury in fact”—an invasion of a legally
       protected interest which is (a) concrete and particularized; and (b) “actual or
       imminent, not ‘conjectural’ or ‘hypothetical.’” Second, there must be a causal
       connection between the injury and the conduct complained of—the injury has to be
       “fairly ... trace[able] to the challenged action of the defendant, and not ... th[e] result
       [of] the independent action of some third party not before the court.” Third, it must



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       be “likely,” as opposed to merely “speculative,” that the injury will be “redressed
       by a favorable decision.”

OCA-Greater Houston v. Texas, 867 F.3d 604, 609-610 (5th Cir. 2017)(quoting Lujan, 504 U.S.

at 560–61). There are two theories where an association or organization can establish an injury-in-

fact, either “associational standing” or “organizational standing.” Id. at 610. “‘Associational

standing’ is derivative of the standing of the association’s members, requiring that they have

standing and that the interests the association seeks to protect be germane to its purpose.” Id. “By

contrast, ‘organizational standing’ does not depend on the standing of the organization’s members”

– where the organization, in its own name “meets the same standing test that applies to

individuals.” Id.

        At the summary judgment stage, Plaintiffs can no longer rest on “mere allegations”;

instead, “each element must be supported in the same way as any other matter on which the

plaintiff bears the burden of proof,” by providing evidence of specific facts to defeat summary

judgment. Lujan, 504 U.S. at 561. “When the suit is one challenging the legality of government

action or inaction, the nature and extent of facts that must be averred (at the summary judgment

stage) … in order to establish standing depends considerably upon whether the plaintiff is himself

an object of the action (or forgone action) at issue.” Id. If the plaintiff's claimed “injury arises from

the government's allegedly unlawful regulation (or lack of regulation) of someone else, much more

is needed” and standing is “substantially more difficult” to establish. Id. at 562.

        The challenge of the validity of a Texas election statute “is, without question, fairly

traceable to and redressable by ... its Secretary of State, who serves as the ‘chief election officer

of the state.’” Texas Democratic Party, 2020 WL 2982937, at *6 (quoting OCA-Greater-Houston,

867 F.3d at 613). It is the Secretary of State that “has the power to take appropriate action to protect

Texans’ voting rights from abuse by the authorities administering the state’s electoral processes.”



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Id. (internal quotations omitted). The Secretary of State has the duty to “‘obtain and maintain

uniformity in the application, operation, and interpretation of” Texas’s election laws, including by

‘prepar[ing] detailed and comprehensive written directives and instructions relating to’ those vote-

by-mail rules.” Id. (quoting TEX. ELEC. CODE § 31.003).

       “Courts sometimes make standing law more complicated than it needs to be[,]” “[P]laintiffs

[may] lack Article III standing for a simple, commonsense reason” under ordinary Article III

standing analysis. Thole, 140 S.Ct. at 1622. “[I]n ‘every case involving construction of a statute,’

the ‘starting point ... is the language itself.’” Id. at 1623 (THOMAS, J., with who J. GORSUCH

joins, concurring)(quoting Varity Corp. v. Howe, 516 U.S. 489, 528 (1996) and Ernst & Ernst v.

Hochfelder, 425 U.S. 185 (1976); ellipsis in original).

       In this matter, Plaintiffs Richardson and Weisfeld cannot satisfy any of the three required

elements of standing and therefore, lack statutory standing to bring any claims against Defendant

Hancock. Specifically, Weisfeld, who is not a registered voter in Brazos County, has no concrete

or particularized stake in any claims asserted against Defendant Hancock. Additionally, Plaintiffs

Austin Justice, CTD, MOVE and the League cannot meet either “associational standing” or

“organizational standing” to establish an Article III case or controversy against Defendant

Hancock. Plaintiff Austin Justice, CTD, MOVE and the League cannot identify any concrete or

particularized stake in any claims against Defendant Hancock. The acceptance or rejection of mail-

in ballots is statutorily mandated to be carried out by the early voting ballot board (EVBB), not

Brazos County or Defendant Hancock.

       1. Texas Election Code

       In this matter, Plaintiffs challenge the validity of the statutory scheme set out in Texas

Election Code §§87.041(b)(2), (e), and (f), requiring the rejections of mail-in ballots with alleged




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signature mismatches. Docket Entry No. 1. Texas Election Code, section 87.041 provides as

follows:

       (a) The early voting ballot board shall open each jacket envelope for an early
       voting ballot voted by mail and determine whether to accept the voter's ballot.
       (b) A ballot may be accepted only if:
               (1) the carrier envelope certificate is properly executed;
               (2) neither the voter's signature on the ballot application nor the signature
               on the carrier envelope certificate is determined to have been executed by a
               person other than the voter, unless signed by a witness;
               (3) the voter's ballot application states a legal ground for early voting by
               mail;
               (4) the voter is registered to vote, if registration is required by law;
               (5) the address to which the ballot was mailed to the voter, as indicated by
               the application, was outside the voter's county of residence, if the ground
               for early voting is absence from the county of residence;
               (6) for a voter to whom a statement of residence form was required to be
               sent under Section 86.002(a), the statement of residence is returned in the
               carrier envelope and indicates that the voter satisfies the residence
               requirements prescribed by Section 63.0011; and
               (7) the address to which the ballot was mailed to the voter is an address that
               is otherwise required by Sections 84.002 and 86.003.
       (c) If a ballot is accepted, the board shall enter the voter's name on the poll list
       unless the form of the list makes it impracticable to do so. The names of the voters
       casting ballots by mail shall be listed separately on the poll list from those casting
       ballots by personal appearance.
       (d) A ballot shall be rejected if any requirement prescribed by Subsection (b) is not
       satisfied. In that case, the board shall indicate the rejection by entering "rejected"
       on the carrier envelope and on the corresponding jacket envelope.
       (e) In making the determination under Subsection (b)(2), the board may also
       compare the signatures with any two or more signatures of the voter made within
       the preceding six years and on file with the county clerk or voter registrar to
       determine whether the signatures are those of the voter.
       (f) In making the determination under Subsection (b)(2) for a ballot cast under
       Chapter 101 or 105, the board shall compare the signature on the carrier envelope



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       or signature cover sheet with the signature of the voter on the federal postcard
       application.
       (g) A person commits an offense if the person intentionally accepts a ballot for
       voting or causes a ballot to be accepted for voting that the person knows does not
       meet the requirements of Subsection (b). An offense under this subsection is a Class
       A misdemeanor.

Tex. Elec. Code §87.041 (emphasis added). In Texas, the EVBB shall have jurisdiction to process

early voting results as it is statutorily required to be created for that purpose, not the County or the

early voting clerk (Brazos County and/or Brazos County Election Administrator, Trudy Hancock).

Id. at §87.001 (emphasis added). The EVBB consists of a presiding judge and at least two other

members. Id. at §87.002(a). The presiding judge is appointed from a list provided “by the political

party whose nominee for governor received the most votes in the county in the most recent

gubernatorial general election.” Id. at §87.002(d). “Each county chair of a political party with

nominees on the general election ballot shall submit … a list of names of persons eligible to serve

on the early voting ballot board.” Id. at §87.002(c). The members of the EVBB are statutorily

required to take the following oath:

       I swear (or affirm) that I will objectively work to be sure every eligible voter's vote
       is accepted and counted, and that only the ballots of those voters who violated the
       Texas Election Code will be rejected. I will make every effort to correctly reflect
       the voter's intent when it can be clearly determined. I will not work alone when
       ballots are present and will work only in the presence of a member of a political
       party different from my own. I will faithfully perform my duty as an officer of the
       election and guard the purity of the election.

Id. at §87.006(a). The EVBB, not Brazos County and/or Hancock, determines “whether

to accept early voting ballots voted by mail in accordance with Section 87.041.” Id. at

§87.0241(a).




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           The early voting clerk, Hancock, has no statutory role or authority of oversight related to

the EVBB and the EVBB’s processing of early voting results. Id. §87.001, et seq. The EVBB is

independent from the County and the early voting clerk, as the membership consists of

nominations from lists provided by the political parties – not Brazos County and/or Hancock. The

role of the early voting clerk in the processing of early voting results, Hancock, is the delivery of

the ballots to the EVBB. Specifically, “[t]he early voting clerk shall deliver to the early voting

ballot board the jacket envelopes containing the early voting ballots voted by mail, regardless of

the ballot type or voting system used.” Id. at §87.021(2) (emphasis added). The timeframe for the

delivery of ballots and other materials to the EVBB by the early voting clerk is mandated by

statute:

           the materials shall be delivered to the early voting ballot board under this
           subchapter during the time the polls are open on election day, or as soon after the
           polls close as practicable, at the time or times specified by the presiding judge of
           the board;

           [i]n an election in which regular paper ballots are used for early voting by personal
           appearance or by mail, the materials may be delivered to the board between the end
           of the period for early voting by personal appearance and the closing of the polls
           on election day, or as soon after closing as practicable, at the time or times specified
           by the presiding judge of the board; and

           in an election conducted by an authority of a county with a population of 100,000
           or more or conducted jointly with such a county, the jacket envelopes containing
           the early voting ballots voted by mail may be delivered to the board between the
           end of the ninth day before the last day of the period for early voting by personal
           appearance and the closing of the polls on election day, or as soon after closing as
           practicable, at the time or times specified by the presiding judge of the board.

Id. at §§87.022; 87.0221(a); & 87.0222(a), respectively.

           Here, the delivery of the ballots and other materials is not at issue or any way a part of this

lawsuit – Plaintiffs seek relief for the rejection of mail-in ballots based on a signature mismatch

by the EVBB or signature verification committee (SVC). Docket Entry No. 1. Plaintiffs cannot




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dispute that Brazos County does not have an SVC or that the County had an SVC in the past.

Docket Entry No 1 and Exhibit 8 at 12:24 – 13:4.2

             The EVBB “may determine whether to accept early voting ballots voted by mail in

accordance with Section 87.041 at any time after the ballots are delivered to the board;” however,

the EVBB “may not count early voting ballots until: (1) the polls open on election day; or (2) in

an election conducted by an authority of a county with a population of 100,000 or more or

conducted jointly with such a county, the end of the period for early voting by personal

appearance.” Tex. Elec. Code § 87.0241(a) & (b). “The secretary of state shall prescribe any

procedures necessary for implementing this section in regard to elections described in Subsection

(b)(2),” elections conducted in a county with a population of 100,000 or more. Id. at §87.0241(c)

(emphasis added).

             If a ballot is rejected, it is the duty of the presiding judge of the EVBB, not Defendant

Hancock, to deliver written notice to the voter of the reason for the rejection of the ballot. Id. at

§87.0431(a). Specifically, “[n]ot later than the 10th day after election day, the presiding judge of

the early voting ballot board shall deliver written notice of the reason for the rejection of a ballot

to the voter at the residence address on the ballot application.” Id. (emphasis added). The only role

of the early voting clerk is the statutory requirement to “deliver notice to the attorney general,

including certified copies of the carrier envelope and corresponding ballot application, of any

ballot rejected because: (1) the voter was deceased; (2) the voter already voted in person in the

same election; (3) the signatures on the carrier envelope and ballot application were not executed

by the same person; (4) the carrier envelope certificate lacked a witness signature; or (5) the carrier

envelope certificate was improperly executed by an assistant”, not later than the 30th day after



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    References to deposition testimony is cited as page number : line number.


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election day. Id. at §87.0431(b). “The attorney general shall prescribe the form and manner of

submission under Subsection (b). The secretary of state shall adopt rules as necessary to

implement the requirements prescribed under this subsection.” Id. at §87.0431(c)(emphasis

added).

          2. Dr. George Richardson

          In this matter, Richardson alleges that “the county gave him no notice of its decision until

after the election, notwithstanding the fact that Dr. Richardson would have confirmed that it was

his signature on the mail-in ballot if so asked.” Docket Entry No. 1, ¶ 3. Further, Richardson

mistakenly asserts that “[a]fter the election, he received a letter from Brazos County notifying him

that his ballot was rejected because of a signature mismatch.” Id. at ¶ 10. Finally, Richardson

claims that he will continue to cast mail-in ballots only when “the county either stops rejecting

mail-in ballots based on an alleged signature mismatch or provides voters, at the very least, a pre-

rejection notice and the ability to cure mail-in ballots questioned for an alleged signature

mismatch.” Id.

          In this case, Dr. Richardson cannot establish that that he suffered an injury in fact that is

concrete, particularized, and actual or imminent. Even Plaintiffs’ own expert, Linton Mohammed,

Phd., testified that he reviewed the signatures from the mail-in ballot and application purported to

be from Dr. Richardson. Exhibit 1 at 26:5 – 29:5. Specifically, Dr. Mohammed testified that in his

expert opinion as a forensic document examiner that the two signatures were not a match – “they

were pictorially dissimilar.” Id. at 29:1 – 29:5.

          As shown above, Defendant Hancock is not the official statutorily charged with reviewing

votes by mail to determine whether to accept a voter’s ballot. Tex. Elec. Code §87.041. The EVBB




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has the sole jurisdiction to process early voting results, including mail-in ballots. Id. and Id. at

§87.001. Dr. Richardson testified:

       13      Q. (BY MR. MAGEE) Besides being told by someone
       14      about the process used for reviewing signatures on
       15      mail-in ballots, have you done anything else to
       16      familiarize yourself with the process to review those
       17      ballots?
       18      A. No.

Exhibit 2 at 51:13 – 51:18. Further, Richardson mistakenly argues that the County needs to stop

rejecting mail-in ballots, provide a pre-rejection notice and ability to cure mail-in ballots.

However, Brazos County has no statutory duty or requirement concerning notification of a rejected

ballot. Docket Entry No. 1, ¶ 10. As stated above, it is the duty of the presiding judge of the EVBB,

not Defendant Hancock, to deliver written notice to the voter of the reason for the rejection of the

ballot not later than the 10th day after election day. Tex. Elec. Code §87.0431(a). Therefore, any

alleged injury by Richardson was not caused by Defendant Hancock.

       Finally, Richardson cannot establish that any alleged injury would likely be redressed by

the requested judicial relief against Defendant Hancock. Richardson has failed to sue the Brazos

County EVBB.

       For these reasons, Richardson fails to establish standing under Article III of the

Constitution and his claims should be dismissed in their entirety against Defendant Hancock.

       3. Rosalie Weisfeld

       Weisfeld’s allegations related to a city run-off election in 2019 where the City of McAllen

rejected her mail-in ballot. Docket Entry No. 1, ¶ 4. Further, Weisfeld states that she is an

individual voter in McAllen, Texas and alleges that she “was improperly and unconstitutionally

disenfranchised in the 2019 McAllen, Texas city run-off election.” Id. at ¶ 11.




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       It is undisputed that Weisfeld cannot establish standing against Defendant Hancock as she

has not claimed any injury that occurred from Brazos County or that there is a causal connection

between any alleged injury and Defendant Hancock. Id. Further, Weisfeld cannot demonstrate that

any alleged injury she may have suffered would be adequately redressed by a judicial decision

against Defendant Hancock. Id. Weisfeld has had no prior dealings with the Brazos County

election administrator or Defendant Hancock. Exhibit 3 at 51:16 – 51:22.

       For these reasons, Weisfeld fails to establish standing under Article III of the Constitution

and her claims should be dismissed in their entirety against Defendant Hancock.

       4. Austin Justice Coalition

       In this Complaint, AJC states that it is a non-partisan, non-profit organization. Docket

Entry No. 1, ¶ 12. “AJC operates #ProjectOrange, a coordinated campaign to enter the Travis

County Jail, register eligible voters, and provide support to them in requesting and submitting

mail-in ballots.” Id. Further, AJC states that it “works with the Travis County Jail and the Travis

County Elections Department to ensure applications are received on time by the Elections

Department, mail-in ballots are received by the inmate voters, and completed mail-in ballots are

received by the Elections Department on time.” Id. at ¶ 13. Finally, AJC claims that “[b]ecause of

Defendants’ unlawful signature comparison procedure, each signed ballot improperly and

arbitrarily rejected for an alleged signature mismatch undermines the efficacy of AJC’s #Project

Orange campaign.” Id. at ¶ 14.

       Austin Justice cannot establish that a concrete and particularized injury occurred or that

there is any actual or imminent threat of injury that is not conjectural or hypothetical. Secondly,

Austin Justice fails to establish that there is a causal connection between any alleged injury and

Defendant Hancock. Finally, Austin Justice cannot demonstrate that any alleged injury of Austin




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Justice would be adequately redressed by a judicial decision against Defendant Hancock, such an

assertion would be merely speculative.

        Larissa Rodionov, on behalf of Austin Justice, testified that Austin Justice operates a

project named Project Orange which assists inmates by mail applications. Exhibit 4 at 46:4 – 46:9.

All of the work by Austin Justice is performed in Travis County at the Travis County Correctional

Complex. Id. at 59:2 – 59:7. Ms. Rodionov testified that she is not aware of any time that Austin

Justice has assisted any voter whose mail-in ballot was rejected for a signature mismatch. Id. at

64:18 – 64:22. Austin Justice has not worked in Brazos County and has had no communications

with the Brazos County elections office. Id. at 70:8 – 70:19. Therefore, Austin Justice cannot

identify any policy or regulation of Brazos County/Defendant Hancock concerning signature

verification or mail-in ballots that Austin Justice challenges resulting in an injury caused by Brazos

County/Defendant Hancock.

        For these reasons, Austin Justice fails to establish standing under Article III of the

Constitution and its claims should be dismissed in their entirety against Defendant Hancock.

        5. Coalition of Texans with Disabilities

        CTD is suing the “Defendants on its own behalf and on behalf of its members who use the

mail-in ballot process based on their eligibility due to disability.” Docket Entry No. 1, ¶ 15. CTD

alleges that its “mission is significantly frustrated by the current state laws and policies that result

in the improper rejection of disabled voters’ mail-in ballots.” Id. at ¶ 18. Further, CTD claims that

“[b]ecause of Defendants’ unlawful signature comparison procedure, each signed ballot

improperly and arbitrarily rejected for an alleged signature mismatch undermines the efficacy of

CTD’s mail-in ballot work.” Id. Finally, CTD assets that “[n]either the claims asserted nor the




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relief requested by CTD require the participation of its individual members who regularly vote by

mail.” Id. at ¶ 19.

        In this case, CTD cannot establish that a concrete and particularized injury occurred or that

there is any actual or imminent threat of injury that is not conjectural or hypothetical. Secondly,

CTD fails to establish that there is a causal connection between any alleged injury and Defendant

Hancock. Finally, the League cannot demonstrate that any alleged injury of CTD would be

adequately redressed by a judicial decision against Defendant Hancock, such an assertion would

be merely speculative.

        Chase Bearden, on behalf of CTD, testified that he does not know of any CTD member

that has had a mail-in ballot rejected because of a signature mismatch, including any in Brazos

County. Exhibit 5 at 66:1 – 66:10; 77:12 – 77:20. Mr. Bearden testified that he spoke with several

members of CTD about mail-in ballots, their disabilities and this litigation. Id. at 13:6 – 15:8.

Further, Mr. Bearden testified that he nor any of the three CTD members that he discussed mail-

in ballots are registered voters in Brazos County. Id. at 77:2 – 77:11. Finally, Mr. Bearden did not

identify any policy or regulation of Brazos County/Defendant Hancock concerning signature

verification or mail-in ballots that CTD challenges resulting in an injury caused by Brazos

County/Defendant Hancock.

        For these reasons, CTD fails to establish standing under Article III of the Constitution and

its claims should be dismissed in their entirety against Defendant Hancock.

        6. MOVE Texas Civic Fund

        MOVE states that it “sues Defendants on its own behalf.” Docket Entry No. 1, ¶ 20. MOVE

claims to work “with three distinct groups of students in relation to mail-in ballots: (1) eligible

students who attend schools outside of Texas and away from their county of residence; (2) eligible




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students who attend a Texas school outside of their county of residence; and (3) eligible students

who attend a Texas school and consider their address at or nearby school as their residence, but

are nevertheless away from school during an election for summer work, holidays, or another

conflict.” Id. at ¶ 21. Finally, MOVE alleges that its “mission is significantly frustrated by the

current state laws and policies that result in the improper rejection of youth voters’ mail-in ballots.

Because of Defendants’ unlawful signature comparison procedure, each signed ballot improperly

and arbitrarily rejected for an alleged signature mismatch undermines the efficacy of MOVE’s

mail-in ballot work.” Id. at ¶ 23.

       MOVE cannot establish that a concrete and particularized injury occurred or that there is

any actual or imminent threat of injury that is not conjectural or hypothetical. Secondly, MOVE

fails to establish that there is a causal connection between any alleged injury and Defendant

Hancock. Finally, MOVE cannot demonstrate that any alleged injury of CTD would be adequately

redressed by a judicial decision against Defendant Hancock, such an assertion would be merely

speculative.

       Hilliard Drew Galloway, on behalf of MOVE, testified that MOVE cannot identify any

voter it assisted excluding Plaintiff Weisfeld related to mail-in ballots that was rejected for

signature mismatch. Exhibit 6 at 46:21 – 48:21. Mr. Galloway testified that he had no knowledge

of any contact by MOVE with Brazos County/Defendant Hancock with the exception of

communications related to voter registration. Id. at 24:8 – 25:10. MOVE does some vote by mail

advocacy work at elections administrators’ offices in Bexar, Travis, Dallas, Harris, Webb and Hays

Counties. Id. at 38:5 – 38:23. Finally, MOVE cannot identify any policy or regulation of Brazos

County/Defendant Hancock concerning accepting or rejecting mail-in ballots based on the voter’s




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signature that MOVE challenges resulting in an injury caused by Brazos County/Defendant

Hancock.

       For these reasons, MOVE fails to establish standing under Article III of the Constitution

and its claims should be dismissed in their entirety against Defendant Hancock.

       7. League of Women Voters of Texas

       The League is suing “Defendants on its own behalf and on behalf of its members who use

the mail-in ballot process.” Docket Entry No. 1 at ¶ 24. The League alleges that its “mission is

significantly frustrated by the current state laws and policies that result in the improper rejection

of voters’ mail-in ballots. Because of Defendants’ unlawful signature comparison procedure, each

signed ballot improperly and arbitrarily rejected for an alleged signature mismatch undermines the

efficacy of LWV’s work.” Id. at ¶ 23. Finally, the League assets that “[n]either the claims asserted

nor the relief requested by LWV require the participation of its individual members who regularly

vote by mail.” Id. at ¶ 27.

       Here, the League cannot establish standing – that a concrete and particularized injury

occurred or that there is any actual or imminent threat of injury that is not conjectural or

hypothetical. Secondly, it is undisputed that the League fails to establish that there is a causal

connection between any alleged injury and Defendant Hancock. Finally, the League cannot

demonstrate that any alleged injury would be adequately redressed by a judicial decision against

Defendant Hancock, such an assertion would be merely speculative.

       The President of the League, Grace Chimene, testified that she could not identify any times

where the League “assisted any individual voter after their mail-in ballot was rejected for signature

mismatch” – the League merely provides a national telephone number to the Election Protection

Coalition. Exhibit 7 at 77:8 – 80:10. The League does not contribute any funds to the Election




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Protection Coalition. Id. at 79:17 – 79:23. Specifically, Ms. Chimene testified that she does not

know of any of the League’s members that have ever had a mail-in ballot rejected based on a

signature mismatch. Id. at 80:21 – 81:8. The only direct involvement with Brazos County that the

League could provide related to a county election website review and not related to any rejected

mail-in ballots. Id. at 25:12 – 25:23. Brazos County received an outstanding award certificate from

the League. Id. at 104:9 – 107:5, Id. at Exhibit 11. Ms. Chimene testified that she loved Brazos

County’s election website and “to tell [Brazos County] to keep doing a great job.” Id. Therefore,

Ms. Chimene failed to identify any policy or regulation of Brazos County/Defendant Hancock

concerning signature verification that the League challenges resulting in an injury.

       For these reasons, the League fails to establish standing under Article III of the Constitution

and its claims should be dismissed in their entirety against Defendant Hancock.

   C. Texas Election Code – Processing of Early Voting Results

       As stated above, Chapter 87 of the Texas Elections Code governs the appointment and

composition of an EVBB and requires that the EVBB review mail-in ballots. Tex. Elec. Code, Ch.

87. Plaintiffs acknowledge that Chapter 87 of the Texas Elections Code govern the processing of

early voting results. Doc. 1 at ¶¶ 35-40. The EVBB consists of a presiding judge and at least two

other members, all of whom are selected from lists provided by the political parties with nominees

on the general election ballot. Tex. Elec. Code §87.002. The presiding judge is selected from the

list provided by the political party whose nominee for governor received the most votes in the

county in the most recent gubernatorial general election. Id. The EVBB verifies whether a

signature is valid. Id. at §87.041.

       In Brazos County, the EVBB consists of 8 to 12 members which are determined by the

EVBB presiding judge in accordance with the Texas Elections Code. Exhibit 8 at 13:12 – 13-25.




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The EVBB presiding judge “seeks out members or volunteers from recommendations from both

parties.” Id. Brazos County does not have a signature verification committee and has not had one

in the past. Id. at 12:24 – 13:4. At no time does a County Elections Administrator have discretion

to intervene in this process of mail-in ballot validation, as the only role of Defendant Hancock

after delivery of the ballots to the EVBB in the process of signature validation to provide a copy

of the handbook from the Texas Secretary of State to the EVBB presiding judge. Id. at 16:17 –

18:17; Id. at Exhibit 7. The Texas Legislature established that only the EVBB has the authority to

determine the validity of mail-in ballots. Tex. Elec. Code §87.001. Further, the Texas Legislature

required that “[t]he secretary of state shall adopt rules as necessary to implement the requirements”

for a notice of a rejected ballot by the EVBB. Id. at §87.0431(c).

        As stated in their Complaint, Plaintiffs pray for (1) a declaratory judgment that the State of

Texas violated the U.S. Constitution; (2) that the Court enjoin the State of Texas and all 254 Texas

counties from following Chapter 87 of the Elections Code; and (3) for attorney fees, costs, and

other relief. Hancock is not a proper party to this suit because a judgment against her will not grant

Plaintiffs any of the relief they seek. It is clear that the Plaintiffs are requesting that the Court re-

write Texas law related to early voting results. Plaintiffs’ Complaint negates the need for Hancock

as a party because only the Texas Legislature has the authority to provide the relief sought.

Specifically, Hancock lacks statutory authority to provide the relief sought as she is obligated, as

a matter of law, to follow the mail-in ballot elections procedures mandated by the Texas Elections

Code. Thus, Plaintiffs are asking this Court to dictate the process and insert its judgment in place

of the Texas Legislature. As demonstrated above, Plaintiffs lack standing and Defendant Hancock

is an improper party. Defendant Hancock is not the proper party to defend any action taken by the

EVBB as required under state law.




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        Therefore, the Court should dismiss all of the causes of action asserted by Plaintiffs against

Defendant Hancock:

               1. Count I – alleged violation of the Due Process of the Fourteenth
                  Amendment for failure to provide pre-rejection notice and opportunity to
                  cure.

        In the Complaint, Plaintiffs do not make a single allegation of wrongdoing against

Hancock, other than she followed Texas law. Count I states:

        By mandating the unilateral and non-reviewable rejection of mail-in ballots due to
        an alleged signature mismatch without according pre-rejection notice, an
        opportunity to be heard, and an ability to cure, Texas’ scheme as outlined in Texas
        Election Code §§ 87.041(b)(2) and (d), both on its face and as it is applied, violates
        the Due Process Clause of the Fourteenth Amendment. Defendants deprived and
        continue to deprive Texas voters, including Mr. Richardson and Ms. Rosalie, voters
        provided support by organizational Plaintiffs, and voters who are members of
        associational Plaintiffs, of adequate procedural due process to protect their
        fundamental right to vote.

Doc. 1 at ¶ 57 (emphasis added). Plaintiffs assert that a voter that has an alleged signature mismatch

should receive a pre-rejection notice and an opportunity to cure any defect in a mail-in ballot. Id.

at ¶¶ 58-9. There are no allegations that Hancock did anything improper or failed to follow Texas

law. Further, Plaintiffs have failed to establish that they have standing under Article III of the

Constitution against Defendant Hancock. As demonstrated above, the EVBB is the statutorily

required board that verifies whether a signature on a mail-in ballot is valid. It is undisputed that

Hancock did not review the signatures in question. Therefore, Hancock should be dismissed from

this suit because she is not a proper party.

               2. Count II – alleged violations of the Equal Protection Clause of the
                  Fourteenth Amendment due to severe burden on voters not justified by a
                  legitimate government interest.

        Count II also fails to state any allegations or claims against Hancock. Count II states, in

part:




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        Texas Election Code Sections 87.041(b)(2) and (d), by mandating the unilateral,
        arbitrary, and ad hoc rejection of mail-in ballots due to an alleged signature
        mismatch, disenfranchise mail-in ballot voters, a burden that is undoubtedly
        severe, especially when such voters are given no pre-rejection notice or
        opportunity to resolve the mismatch or otherwise confirm their identity.

Id. at ¶69. Again, Plaintiffs’ Complaint alleges that Texas law is unconstitutional. “A court

considering a challenge to a state election law must carefully balance the character and magnitude

of the injury to the First and Fourteenth Amendment rights that Plaintiffs seek to vindicate against

the justifications put forward by Defendants for the burdens imposed by the rule.” Id. at ¶ 65

(emphasis added). Texas Election Code, section 87.041 relates to the requirements of the EVBB,

not the Brazos County Elections Administrator, Defendant Hancock.

       As demonstrated above, the EVBB is the statutorily required board that verifies whether a

signature on a mail-in ballot is valid. It is undisputed that Hancock did not review the signatures

in question. Therefore, Hancock should be dismissed from this suit because she is not a proper

party and Plaintiffs have failed to establish that they have standing under Article III of the

Constitution against Defendant Hancock.

               3. Count III -- alleged violations of the Equal Protection Clause of the
                  Fourteenth Amendment due to failure to provide any uniform guidelines
                  or principles for Counties to compare signatures.

       Count III states, “Texas has not promulgated any procedures to assist individual counties

or the EVBB or SVCs within those counties in evaluating signatures on mail-in ballots, thereby

creating an arbitrary system for evaluation in which committees of laypersons ‘eye-ball’ signatures

and evaluate them based on their own ad hoc standards.” Id. at ¶ 72 (emphasis added). The

Complaint, taken as true, alleges that the State of Texas violates the Fourteenth Amendment.

       Plaintiffs have failed to establish that they have standing under Article III of the

Constitution against Defendant Hancock. As demonstrated above, the EVBB is the statutorily




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required board that verifies whether a signature on a mail-in ballot is valid. It is undisputed that

Hancock did not review the signatures in question. Further, Hancock is not statutorily required to

provide uniform guidelines or principles for all Texas counties. The Secretary of State has the duty

to “‘obtain and maintain uniformity in the application, operation, and interpretation of” Texas’s

election laws, including by ‘prepar[ing] detailed and comprehensive written directives and

instructions relating to’ those vote-by-mail rules.” Texas Democratic Party, 2020 WL 2982937, at

*6 (quoting TEX. ELEC. CODE § 31.003). Therefore, Hancock should be dismissed from this suit

because she is not a proper party.

               4. Count IV – alleged violation of Title II of the Americans with Disabilities
                  Act and the Rehabilitation Act of 1973.

        Count IV states:

        Members of CTD who use the mail-in ballot process and, due to their disability,
        cannot make their signatures match, risk disenfranchisement. By reason of such
        disability, the members at issue have suffered and/or risk future exclusion from
        participation in and denial of the benefits of the services, programs, or activities of
        Defendants, and are subjected to discrimination by Defendants. By failing to meet
        their obligation to provide voters who are disabled, cannot vote in person, and, due
        to their disability, cannot sign matching signatures an opportunity to vote that is
        equal and equally effective as that opportunity provided to others, Defendants are
        in violation of the ADA and the RA.

Id. at ¶ 82.

        As demonstrated above, CTD does not know of any member that has had a mail-in ballot

rejected because of a signature mismatch, including any in Brazos County. Further, CTD testified

that none of its members with concerns about the mail-in ballot process are registered voters in

Brazos County. CTD fails to identify any policy or regulation of Brazos County/Defendant

Hancock concerning signature verification or mail-in ballots that CTD challenges resulting in an

injury caused by Brazos County/Defendant Hancock.




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        Count IV alleges that the State of Texas has an invalid law that does not comply with the

ADA, not that Hancock violated the law.


                                            IV.   Prayer

       For these reasons, Defendant Hancock requests that the Court grant her Motion for

Summary Judgment dismissing Plaintiffs Richardson, Weisfeld, Austin Justice, CTD, MOVE and

the League’s claims in their entirety and for such other relief as the court deems just and proper.

                                                      Respectfully submitted,

                                                      /s/ J. Eric Magee
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 22nd day of June, 2020, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system which will send notification of such filing to all
counsel of record.

                                                      /s/ J. Eric Magee
                                                      J. Eric Magee




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